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                            IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE SOUTHERN DISTRICT OF TEXAS
                                       HOUSTON DIVISION

                                                                   )
    In re:                                                         )      Chapter 11
                                                                   )
    GWG Holdings, Inc., et al.,1                                   )      Case No. 22-90032 (MI)
                                                                   )
    Debtors.                                                       )      (Jointly Administered)

                                            AFFIDAVIT OF SERVICE


    STATE OF NEW YORK                  )
                                       )   ss:
    COUNTY OF KINGS                    )

I, Sung Jae Kim, declare:

                1. I am over the age of 18 years and not a party to these Chapter 11 Cases.

                2. I am employed by Donlin, Recano & Company, Inc. (“DRC”), 6021 15th Avenue,
                   Brooklyn, NY 11219.

                3. On the 21st day of November, 2022, DRC, under my supervision, caused to serve, a
                   true and accurate copy of the following documents:

                         a) Second Supplemental Declaration of Thomas S. Kiriakos in Support of the
                            Debtors’ Application for Entry of an Order Authorizing the Retention and
                            Employment of Mayer Brown LLP as Attorneys for the Debtors and Debtors
                            in Possession (Docket No. 1091);

                         b) Monthly Operating Report (Docket No. 1096);

                         c) Monthly Operating Report (Docket No. 1097); and

                         d) Monthly Operating Report (Docket No. 1098),

                    via electronic mail upon the parties as set forth on Exhibit 1; and via First Class U.S.
                    Mail upon the parties as set forth on Exhibit 2, attached hereto.

1
       The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
       number, are: GWG Holdings, Inc. (2607); GWG Life, LLC (6955); GWG Life USA, LLC (5538); GWG DLP
       Funding IV, LLC (2589); GWG DLP Funding VI, LLC (6955); and GWG DLP Funding Holdings VI, LLC
       (6955). The location of Debtor GWG Holdings, Inc.’s principal place of business and the Debtors’ service address
       is 325 N. St. Paul Street, Suite 2650 Dallas, TX 75201. Further information regarding the Debtors and these
       chapter 11 cases is available at the website of the Debtors’ claims and noticing agent:
       https://donlinrecano.com/gwg.
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 I declare under penalty of perjury that the foregoing is true and correct to the best of my personal
 knowledge. Executed this 28th day of November, 2022, Brooklyn, New York.



                                                      By__________________________
                                                             Sung Jae Kim
Sworn before me this
28th day of November, 2022


_______________________
     Notary Public




                                                 2
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000020P002-1488S-161                             000020P002-1488S-161                                000020P002-1488S-161                        000020P002-1488S-161
AKIN GUMP STRAUSS HAUER & FELD LLP               AKIN GUMP STRAUSS HAUER & FELD LLP                  AKIN GUMP STRAUSS HAUER & FELD LLP          AKIN GUMP STRAUSS HAUER & FELD LLP
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000021P004-1488S-161                             000021P004-1488S-161                                000021P004-1488S-161                        000126P001-1488S-161
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000735P001-1488S-161                             000233P001-1488S-161                                000061P001-1488S-161                        000064P001-1488S-161
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000053P001-1488S-161                             000063P001-1488S-161                                000228P001-1488S-161                        000060P001-1488S-161
ATOMIC DATA LLC                                  BAKER TILLY VIRCHOW KRAUSE LLP                      BANK OF UTAH                                BROADRIDGE INVESTOR COMMUNICATION
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                                      Case 22-90032 Document 1115 Filed in TXSB
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000067P001-1488S-161                       000082P001-1488S-161                          000231P001-1488S-161                000069P001-1488S-161
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MEGAN M ADEYEMO                            JEFFREY D CAWDREY                             JEFFREY D CAWDREY                   MURRAY HOLLAND, PRES. & CEO
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GWG HOLDINGS INC                             GWG HOLDINGS INC                                GWG HOLDINGS INC                        GWG HOLDINGS INC
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325 N ST PAUL ST                             325 N ST PAUL ST                                325 N ST PAUL ST                        325 N ST PAUL ST
STE 2650                                     STE 2650                                        STE 2650                                STE 2650
DALLAS TX 75201                              DALLAS TX 75201                                 DALLAS TX 75201                         DALLAS TX 75201
EMAIL INTENTIONALLY OMITTED                  EMAIL INTENTIONALLY OMITTED                     EMAIL INTENTIONALLY OMITTED             EMAIL INTENTIONALLY OMITTED


000059P001-1488S-161                         000124P001-1488S-161                            000124P001-1488S-161                    000124P001-1488S-161
HAYNES AND BOONE LLP                         HOLLAND & KNIGHT LLP                            HOLLAND & KNIGHT LLP                    HOLLAND & KNIGHT LLP
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1722 ROUTH ST.,STE 1500                      1722 ROUTH ST.,STE 1500                         1722 ROUTH ST.,STE 1500                 1722 ROUTH ST.,STE 1500
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000124P001-1488S-161                         000124P001-1488S-161                            000125P001-1488S-161                    000047P001-1488S-161
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WAYNE KITCHENS;HEATHER HEATH MCINTYRE        WAYNE KITCHENS;HEATHER HEATH MCINTYRE           WAYNE KITCHENS;HEATHER HEATH MCINTYRE   WAYNE KITCHENS;HEATHER HEATH MCINTYRE
TOTAL ENERGIES PLAZA                         TOTAL ENERGIES PLAZA                            TOTAL ENERGIES PLAZA                    TOTAL ENERGIES PLAZA
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000567P001-1488S-161                   000568P001-1488S-161                          000129P002-1488S-161                000129P002-1488S-161
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000129P002-1488S-161                   000129P002-1488S-161                          000129P002-1488S-161                000129P002-1488S-161
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000049P002-1488S-161                   000459P001-1488S-161                          000022P001-1488S-161                000054P001-1488S-161
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                                                                                                                         JMCKNIGHT@LOCKELORD.COM


000028P001-1488S-161                   000029P002-1488S-161                          000057P001-1488S-161                000096P001-1488S-161
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PAUL D MALMFELDT                       MARK D LISTON                                 RIKKE DIERSSEN-MORICE               MAURA HEALY
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000232P001-1488S-161                                000413P001-1488S-161                             000012P001-1488S-161                           000012P001-1488S-161
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                                                    AHOCHHEISER@MAURICEWUTSCHER.COM                  HOUSTON TX 77002-2730                          HOUSTON TX 77002-2730
                                                                                                     CKELLEY@MAYERBROWN.COM                         sswihart@mayerbrown.com


000012P001-1488S-161                                000012P001-1488S-161                             000013P001-1488S-161                           000014P001-1488S-161
MAYER BROWN LLP                                     MAYER BROWN LLP                                  MAYER BROWN LLP                                MAYER BROWN LLP
CHARLES S KELLEY                                    CHARLES S KELLEY                                 THOMAS S KIRIAKOS                              LOUIS S CHIAPPETTA
700 LOUISIANA ST                                    700 LOUISIANA ST                                 71 S WACKER DR                                 71 S WACKER DR
STE 3400                                            STE 3400                                         CHICAGO IL 60606                               CHICAGO IL 60606
HOUSTON TX 77002-2730                               HOUSTON TX 77002-2730                            TKIRIAKOS@MAYERBROWN.COM                       LCHIAPPETTA@MAYERBROWN.COM
houstondocket@mayerbrown.com                        6843309420@filings.docketbird.com


000015P001-1488S-161                                000016P001-1488S-161                             000055P001-1488S-161                           000137P001-1488S-161
MAYER BROWN LLP                                     MAYER BROWN LLP                                  MURPHY AND MCGONIGLE PC                        NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
ADAM C PAUL                                         LUCY F KWESKIN                                   ROBERT HOWARD JR
1221 AVENUE OF THE AMERICAS                         1221 AVENUE OF THE AMERICAS                      4870 SALDER RD
NEW YORK NY 10020-1001                              NEW YORK NY 10020-1001                           STE 301
APAUL@MAYERBROWN.COM                                LKWESKIN@MAYERBROWN.COM                          GLEN ALLEN VA 23060
                                                                                                     ROBERT.HOWARD@MMLAWUS.COM


000138P001-1488S-161                                000139P001-1488S-161                             000140P001-1488S-161                           000141P001-1488S-161
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED        NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




000142P001-1488S-161                                000143P002-1488S-161                             000144P001-1488S-161                           000145P002-1488S-161
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED        NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




000146P002-1488S-161                                000147P002-1488S-161                             000148P001-1488S-161                           000149P001-1488S-161
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED        NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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000150P001-1488S-161                                000151P001-1488S-161                             000153P001-1488S-161                           000156P001-1488S-161
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED        NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




000159P001-1488S-161                                000160P001-1488S-161                             000161P001-1488S-161                           000162P001-1488S-161
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED        NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




000163P001-1488S-161                                000164P001-1488S-161                             000165P001-1488S-161                           000166P001-1488S-161
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED        NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




000167P001-1488S-161                                000168P001-1488S-161                             000169P001-1488S-161                           000170P001-1488S-161
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED        NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




000171P001-1488S-161                                000173P001-1488S-161                             000174P001-1488S-161                           000175P001-1488S-161
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED        NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




000176P001-1488S-161                                000177P001-1488S-161                             000178P001-1488S-161                           000179P001-1488S-161
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED        NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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000180P001-1488S-161                            000181P001-1488S-161                             000182P001-1488S-161                           000183P001-1488S-161
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




000184P001-1488S-161                            000185P001-1488S-161                             000186P001-1488S-161                           000187P001-1488S-161
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




000188P001-1488S-161                            000189P001-1488S-161                             000190P001-1488S-161                           000191P001-1488S-161
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




000192P001-1488S-161                            000193P001-1488S-161                             000194P001-1488S-161                           000195P001-1488S-161
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




000197P001-1488S-161                            000198P001-1488S-161                             000199P001-1488S-161                           000200P001-1488S-161
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




000201P001-1488S-161                            000202P001-1488S-161                             000203P001-1488S-161                           000204P001-1488S-161
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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000205P001-1488S-161                            000206P001-1488S-161                             000207P001-1488S-161                           000208P001-1488S-161
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




000209P001-1488S-161                            000210P001-1488S-161                             000211P001-1488S-161                           000214P001-1488S-161
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




000215P001-1488S-161                            000216P001-1488S-161                             000217P001-1488S-161                           000218P001-1488S-161
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




000219P001-1488S-161                            000220P001-1488S-161                             000222P001-1488S-161                           000223P001-1488S-161
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




000224P001-1488S-161                            000225P001-1488S-161                             000226P001-1488S-161                           000227P001-1488S-161
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




000235P001-1488S-161                            000236P001-1488S-161                             000237P001-1488S-161                           000238P001-1488S-161
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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000239P001-1488S-161                            000240P001-1488S-161                             000241P001-1488S-161                           000242P001-1488S-161
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




000243P001-1488S-161                            000244P001-1488S-161                             000245P001-1488S-161                           000246P001-1488S-161
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




000247P001-1488S-161                            000248P001-1488S-161                             000249P001-1488S-161                           000250P001-1488S-161
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




000250P001-1488S-161                            000251P001-1488S-161                             000252P001-1488S-161                           000253P001-1488S-161
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




000254P001-1488S-161                            000255P001-1488S-161                             000256P001-1488S-161                           000257P001-1488S-161
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




000258P001-1488S-161                            000259P001-1488S-161                             000261P001-1488S-161                           000262P001-1488S-161
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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000263P001-1488S-161                            000264P001-1488S-161                             000265P001-1488S-161                           000266P001-1488S-161
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




000268P001-1488S-161                            000269P001-1488S-161                             000270P001-1488S-161                           000271P001-1488S-161
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




000272P001-1488S-161                            000273P001-1488S-161                             000274P001-1488S-161                           000275P001-1488S-161
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




000277P001-1488S-161                            000278P001-1488S-161                             000279P001-1488S-161                           000280P001-1488S-161
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




000282P001-1488S-161                            000283P001-1488S-161                             000284P001-1488S-161                           000286P001-1488S-161
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




000287P001-1488S-161                            000289P001-1488S-161                             000290P001-1488S-161                           000291P001-1488S-161
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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000293P001-1488S-161                            000294P001-1488S-161                             000295P001-1488S-161                           000296P001-1488S-161
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




000297P001-1488S-161                            000298P001-1488S-161                             000299P001-1488S-161                           000300P001-1488S-161
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




000301P001-1488S-161                            000302P001-1488S-161                             000303P001-1488S-161                           000304P001-1488S-161
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




000305P001-1488S-161                            000306P001-1488S-161                             000307P001-1488S-161                           000308P001-1488S-161
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




000309P001-1488S-161                            000310P001-1488S-161                             000311P001-1488S-161                           000312P001-1488S-161
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




000313P001-1488S-161                            000314P001-1488S-161                             000315P001-1488S-161                           000316P001-1488S-161
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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000317P001-1488S-161                            000319P001-1488S-161                             000320P001-1488S-161                           000321P001-1488S-161
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




000322P001-1488S-161                            000323P001-1488S-161                             000324P001-1488S-161                           000325P001-1488S-161
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




000326P001-1488S-161                            000327P001-1488S-161                             000328P001-1488S-161                           000329P001-1488S-161
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




000330P001-1488S-161                            000331P001-1488S-161                             000332P001-1488S-161                           000335P001-1488S-161
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




000336P001-1488S-161                            000338P001-1488S-161                             000339P001-1488S-161                           000340P001-1488S-161
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




000341P001-1488S-161                            000342P001-1488S-161                             000343P001-1488S-161                           000344P001-1488S-161
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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000345P001-1488S-161                            000346P001-1488S-161                             000348P001-1488S-161                           000349P001-1488S-161
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




000350P001-1488S-161                            000351P001-1488S-161                             000352P001-1488S-161                           000353P001-1488S-161
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




000354P001-1488S-161                            000355P001-1488S-161                             000357P001-1488S-161                           000358P001-1488S-161
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




000359P001-1488S-161                            000360P001-1488S-161                             000361P001-1488S-161                           000362P001-1488S-161
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




000363P001-1488S-161                            000364P001-1488S-161                             000365P001-1488S-161                           000366P001-1488S-161
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000367P001-1488S-161                            000368P001-1488S-161                             000369P001-1488S-161                           000370P001-1488S-161
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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000371P001-1488S-161                            000372P001-1488S-161                             000373P001-1488S-161                           000374P001-1488S-161
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




000375P001-1488S-161                            000376P001-1488S-161                             000377P001-1488S-161                           000378P001-1488S-161
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




000380P001-1488S-161                            000382P001-1488S-161                             000383P001-1488S-161                           000384P001-1488S-161
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




000385P001-1488S-161                            000386P001-1488S-161                             000387P001-1488S-161                           000388P001-1488S-161
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000389P001-1488S-161                            000390P001-1488S-161                             000391P001-1488S-161                           000392P001-1488S-161
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000393P001-1488S-161                            000394P001-1488S-161                             000395P001-1488S-161                           000396P001-1488S-161
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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000397P001-1488S-161                            000399P001-1488S-161                             000400P001-1488S-161                           000401P001-1488S-161
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




000402P001-1488S-161                            000403P001-1488S-161                             000404P001-1488S-161                           000405P001-1488S-161
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




000406P001-1488S-161                            000407P001-1488S-161                             000408P001-1488S-161                           000409P001-1488S-161
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




000410P001-1488S-161                            000411P001-1488S-161                             000414P001-1488S-161                           000415P001-1488S-161
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




000416P001-1488S-161                            000417P002-1488S-161                             000418P001-1488S-161                           000419P001-1488S-161
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




000420P001-1488S-161                            000421P001-1488S-161                             000422P001-1488S-161                           000423P001-1488S-161
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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000425P001-1488S-161                            000426P001-1488S-161                             000427P001-1488S-161                           000428P001-1488S-161
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




000429P001-1488S-161                            000430P001-1488S-161                             000431P001-1488S-161                           000432P001-1488S-161
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




000433P001-1488S-161                            000434P001-1488S-161                             000435P001-1488S-161                           000436P001-1488S-161
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




000437P001-1488S-161                            000438P001-1488S-161                             000439P001-1488S-161                           000440P001-1488S-161
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




000441P001-1488S-161                            000442P001-1488S-161                             000447P001-1488S-161                           000448P001-1488S-161
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




000449P001-1488S-161                            000450P001-1488S-161                             000452P001-1488S-161                           000453P001-1488S-161
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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000454P001-1488S-161                            000455P001-1488S-161                             000456P001-1488S-161                           000457P001-1488S-161
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




000458P001-1488S-161                            000461P001-1488S-161                             000462P001-1488S-161                           000463P001-1488S-161
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




000464P001-1488S-161                            000465P001-1488S-161                             000466P001-1488S-161                           000467P001-1488S-161
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




000468P001-1488S-161                            000469P001-1488S-161                             000470P001-1488S-161                           000471P001-1488S-161
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




000472P001-1488S-161                            000473P001-1488S-161                             000474P001-1488S-161                           000476P001-1488S-161
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




000477P001-1488S-161                            000479P001-1488S-161                             000480P001-1488S-161                           000481P001-1488S-161
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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000482P001-1488S-161                            000483P001-1488S-161                             000484P001-1488S-161                           000485P001-1488S-161
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




000486P001-1488S-161                            000487P001-1488S-161                             000488P001-1488S-161                           000489P001-1488S-161
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




000491P001-1488S-161                            000493P001-1488S-161                             000494P001-1488S-161                           000495P001-1488S-161
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




000496P001-1488S-161                            000497P001-1488S-161                             000498P001-1488S-161                           000499P001-1488S-161
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




000500P001-1488S-161                            000501P002-1488S-161                             000503P001-1488S-161                           000504P001-1488S-161
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




000506P001-1488S-161                            000507P001-1488S-161                             000508P001-1488S-161                           000509P001-1488S-161
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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000510P001-1488S-161                            000511P001-1488S-161                             000512P001-1488S-161                           000513P001-1488S-161
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




000514P001-1488S-161                            000515P001-1488S-161                             000516P001-1488S-161                           000517P001-1488S-161
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




000518P001-1488S-161                            000519P001-1488S-161                             000520P001-1488S-161                           000522P001-1488S-161
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




000523P001-1488S-161                            000524P001-1488S-161                             000525P001-1488S-161                           000527P001-1488S-161
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




000528P001-1488S-161                            000529P001-1488S-161                             000530P001-1488S-161                           000531P001-1488S-161
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




000532P001-1488S-161                            000533P001-1488S-161                             000534P001-1488S-161                           000535P001-1488S-161
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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000536P001-1488S-161                            000537P001-1488S-161                             000538P001-1488S-161                           000539P001-1488S-161
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




000540P001-1488S-161                            000541P001-1488S-161                             000542P001-1488S-161                           000543P001-1488S-161
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




000544P001-1488S-161                            000546P001-1488S-161                             000547P001-1488S-161                           000548P001-1488S-161
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




000550P001-1488S-161                            000551P001-1488S-161                             000552P001-1488S-161                           000553P001-1488S-161
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




000554P001-1488S-161                            000555P001-1488S-161                             000556P001-1488S-161                           000557P001-1488S-161
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




000559P001-1488S-161                            000560P001-1488S-161                             000561P001-1488S-161                           000562P001-1488S-161
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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000563P001-1488S-161                            000569P001-1488S-161                             000570P001-1488S-161                           000571P001-1488S-161
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




000572P001-1488S-161                            000573P001-1488S-161                             000574P001-1488S-161                           000575P001-1488S-161
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




000576P001-1488S-161                            000577P001-1488S-161                             000578P001-1488S-161                           000579P001-1488S-161
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




000580P001-1488S-161                            000581P001-1488S-161                             000582P001-1488S-161                           000583P001-1488S-161
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




000584P001-1488S-161                            000585P001-1488S-161                             000586P001-1488S-161                           000587P001-1488S-161
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




000588P001-1488S-161                            000589P001-1488S-161                             000590P001-1488S-161                           000591P001-1488S-161
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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000592P001-1488S-161                            000593P001-1488S-161                             000594P001-1488S-161                           000595P001-1488S-161
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




000596P001-1488S-161                            000597P001-1488S-161                             000598P001-1488S-161                           000598P001-1488S-161
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




000599P001-1488S-161                            000600P001-1488S-161                             000601P001-1488S-161                           000602P001-1488S-161
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




000604P001-1488S-161                            000605P001-1488S-161                             000606P001-1488S-161                           000607P001-1488S-161
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




000608P001-1488S-161                            000609P001-1488S-161                             000610P001-1488S-161                           000611P001-1488S-161
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




000612P001-1488S-161                            000614P001-1488S-161                             000615P001-1488S-161                           000616P001-1488S-161
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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000617P001-1488S-161                            000618P001-1488S-161                             000621P001-1488S-161                           000622P001-1488S-161
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




000623P001-1488S-161                            000624P001-1488S-161                             000626P001-1488S-161                           000628P001-1488S-161
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




000629P001-1488S-161                            000631P001-1488S-161                             000632P001-1488S-161                           000633P001-1488S-161
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




000634P001-1488S-161                            000635P001-1488S-161                             000636P001-1488S-161                           000638P001-1488S-161
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




000639P001-1488S-161                            000639P001-1488S-161                             000640P001-1488S-161                           000641P001-1488S-161
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




000642P001-1488S-161                            000643P001-1488S-161                             000644P001-1488S-161                           000645P001-1488S-161
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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000646P001-1488S-161                            000650P001-1488S-161                             000651P002-1488S-161                           000654P001-1488S-161
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




000655P001-1488S-161                            000656P001-1488S-161                             000658P001-1488S-161                           000659P001-1488S-161
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




000660P001-1488S-161                            000660P001-1488S-161                             000661P001-1488S-161                           000662P001-1488S-161
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




000663P001-1488S-161                            000664P001-1488S-161                             000665P001-1488S-161                           000666P001-1488S-161
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




000667P001-1488S-161                            000668P001-1488S-161                             000669P001-1488S-161                           000670P001-1488S-161
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




000671P001-1488S-161                            000672P001-1488S-161                             000673P001-1488S-161                           000674P001-1488S-161
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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000675P001-1488S-161                            000676P001-1488S-161                             000677P001-1488S-161                           000678P001-1488S-161
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




000679P001-1488S-161                            000680P001-1488S-161                             000681P001-1488S-161                           000682P001-1488S-161
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




000683P001-1488S-161                            000684P001-1488S-161                             000685P001-1488S-161                           000686P001-1488S-161
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




000687P001-1488S-161                            000688P001-1488S-161                             000689P001-1488S-161                           000690P001-1488S-161
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




000691P001-1488S-161                            000692P001-1488S-161                             000693P001-1488S-161                           000694P001-1488S-161
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




000695P001-1488S-161                            000696P001-1488S-161                             000697P001-1488S-161                           000698P001-1488S-161
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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000699P001-1488S-161                            000700P001-1488S-161                             000701P001-1488S-161                           000702P001-1488S-161
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




000703P001-1488S-161                            000704P001-1488S-161                             000706P001-1488S-161                           000707P001-1488S-161
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




000708P001-1488S-161                            000709P001-1488S-161                             000710P001-1488S-161                           000711P001-1488S-161
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




000712P001-1488S-161                            000713P001-1488S-161                             000714P001-1488S-161                           000715P001-1488S-161
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




000716P001-1488S-161                            000717P001-1488S-161                             000718P001-1488S-161                           000719P001-1488S-161
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




000720P001-1488S-161                            000721P001-1488S-161                             000722P001-1488S-161                           000723P001-1488S-161
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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000724P001-1488S-161                            000728P001-1488S-161                             000729P001-1488S-161                           000730P001-1488S-161
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




000731P001-1488S-161                            000736P001-1488S-161                             000737P001-1488S-161                           000738P001-1488S-161
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




000739P001-1488S-161                            000740P001-1488S-161                             000741P001-1488S-161                           000742P001-1488S-161
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




000743P001-1488S-161                            000744P001-1488S-161                             000747P001-1488S-161                           000748P001-1488S-161
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




000749P001-1488S-161                            000750P001-1488S-161                             000751P001-1488S-161                           000752P001-1488S-161
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




000753P001-1488S-161                            000754P001-1488S-161                             000755P001-1488S-161                           000758P001-1488S-161
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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000759P001-1488S-161                            000760P001-1488S-161                             000762P001-1488S-161                           000768P001-1488S-161
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




000769P001-1488S-161                            000072P001-1488S-161                             000230P001-1488S-161                           000745P001-1488S-161
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000767P001-1488S-161                               000133P002-1488S-161                                000134P003-1488S-161                        000131P001-1488S-161
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000030P001-1488S-161                               000132P002-1488S-161                                000132P002-1488S-161                        000132P002-1488S-161
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000132P002-1488S-161                                 000045P001-1488S-161                              000229P001-1488S-161              000732P001-1488S-161
TEXAS COMPTROLLER OF PUBLIC ACCOUNTS                 THE BENEFICIENT CO GROUP (USA) LLC                THOMAS HORTON                     TN DEPT OF REVENUE
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000732P001-1488S-161                                 000490P001-1488S-161                              000050P001-1488S-161              000119P001-1488S-161
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000051P001-1488S-161                                 000017P002-1488S-161                              000017P002-1488S-161              000018P001-1488S-161
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000128P001-1488S-161                                 000128P001-1488S-161                              000074P001-1488S-161              000066P001-1488S-161
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000031P001-1488S-161                            000079P001-1488S-161                            000032P001-1488S-161                           000098P001-1488S-161
BANK OF UTAH                                    CALIFORNIA ATTORNEY GENERAL                     CLMG CORP                                      MINNESOTA ATTORNEY GENERAL
CORPORATE TRUST                                 ROB BONTA                                       AS ADMINISTRATIVE AGENT                        KEITH ELLISON
50 SOUTH 200 EAST STE 110                       1300 I ST                                       7195 DALLAS PKWY                               1400 BREMER TOWER
SALT LAKE CITY UT 84111                         STE 1740                                        PLANO TX 75024                                 445 MINNESOTA ST
                                                SACRAMENTO CA 95814                                                                            ST. PAUL MN 55101-2131



000172P001-1488S-161                            000221P001-1488S-161                            000288P001-1488S-161                           000318P002-1488S-161
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000337P002-1488S-161                            000356P001-1488S-161                            000424P001-1488S-161                           000451P001-1488S-161
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000502P002-1488S-161                            000505P001-1488S-161                            000521P001-1488S-161                           000603P001-1488S-161
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000613P001-1488S-161                            000619P001-1488S-161                            000620P001-1488S-161                           000625P001-1488S-161
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000627P001-1488S-161                            000630P001-1488S-161                            000637P001-1488S-161                           000648P002-1488S-161
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000649P001-1488S-161                            000652P001-1488S-161                            000653P001-1488S-161                           000657P001-1488S-161
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000761P001-1488S-161                                000285P001-1488S-161                              000333P001-1488S-161                     000347P001-1488S-161
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000398P002-1488S-161                                000412P001-1488S-161                              000443P001-1488S-161                     000444P001-1488S-161
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000445P001-1488S-161                                000446P001-1488S-161                              000475P001-1488S-161                     000478P001-1488S-161
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000492P001-1488S-161                                000526P001-1488S-161                              000545P001-1488S-161                     000549P001-1488S-161
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000558P001-1488S-161                                000647P001-1488S-161                              000705P001-1488S-161                     000733P001-1488S-161
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000734P001-1488S-161                                000033P001-1488S-161                              000105P001-1488S-161                     000071P001-1488S-161
NAME AND ADDRESS INTENTIONALLY OMITTED              NATIONAL FOUNDERS LP                              NEW JERSEY ATTORNEY GENERAL              NEW TANGRAM LLC
                                                    AS ADMINISTRATIVE AGENT                           MATTHEW J PLATKIN                        DANIELLE STEVENS
                                                    PO BOX 1073                                       RICHARD J HUGHES JUSTICE COMPLEX         9200 SORENSEN AVE
                                                    WILMINGTON DE 19899                               25 MARKET ST 8TH FL WEST WING            SANTA FE SPRINGS CA 90670
                                                                                                      TRENTON NJ 08625



000107P001-1488S-161                                000116P001-1488S-161                              000118P001-1488S-161                     000009P001-1488S-161
NEW YORK ATTORNEY GENERAL                           SOUTH CAROLINA ATTORNEY GENERAL                   TENNESSEE ATTORNEY GENERAL               TEXAS ATTORNEY GENERAL
LETITIA JAMES                                       ALAN WILSON                                       HERBERT H SLATERY III                    KEN PAXTON
DEPT OF LAW                                         REMBERT C DENNIS OFFICE BLDG                      PO BOX 20207                             300 W 15TH ST
THE CAPITOL 2ND FL                                  1000 ASSEMBLY ST RM 519                           NASHVILLE TN 37202-0207                  AUSTIN TX 78701
ALBANY NY 12224-0341                                COLUMBIA SC 29211-1549




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